Case 1:22-cv-00579-CFC-LDH Document 71 Filed 04/01/24 Page 1 of 2 PageID #: 720




                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE

  HYPH (USA), INC. and XHAIL, INC.,          )
                                             )
                Plaintiffs,                  )
                                             )
    v.                                       )    C.A. No. 22-579-CFC
                                             )
  MICHAEL KIELY,                             )
                                             )
                Defendant.                   )

                              STIPULATION TO EXTEND

         WHEREAS, fact discovery is currently set to close on April 5, 2024 (D.I. 46

 at ¶ 3(a)).

         WHEREAS, the parties require additional time to meet and confer on certain

 conflicts regarding written discovery and document production;

         WHEREAS, the deposition of Mr. Renard was scheduled to take place on

 April 2, 2024 at 10:00 a.m. Eastern Time based on the agreement of the parties

 (with the prior noticed date of March 28, 2024 being continued based on the

 witness’s availability). See D.I. 66-2.

         WHEREAS, the deposition of Mr. Kiely was scheduled to take place on

 April 4, 2024 at 10:00 a.m. Eastern Time. See D.I. 67.

         WHEREAS, the parties agree that such conflicts on written discovery and

 document production should be resolved prior to the depositions of Mr. Renard and
Case 1:22-cv-00579-CFC-LDH Document 71 Filed 04/01/24 Page 2 of 2 PageID #: 721




 defendant, Mr. Kiely to preserve judicial economy;

       WHEREAS, the parties have postponed the depositions of Mr. Renard and

 Mr. Kiely.

       WHEREAS, the extension of the discovery cut off will not affect any other

 dates or deadlines in the scheduling order (D.I. 46).

       NOW THEREFORE, the parties stipulate and agree, subject to the provision

 at ¶ 3 of the scheduling order (D.I. 46) and the approval of the Court, that the time

 for fact discovery cutoff is extended by three weeks from April 5, 2024 to April 26,

 2024. The parties certify that they have sent a copy of this request to their

 respective clients.


  /s/ Emily S. DiBenedetto                   /s/ Helena C. Rychlicki
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  Dated: April 1, 2024

       IT IS SO ORDERED this 1st day of April 2024,

                                     /s/ Colm F. Connolly
                                         Honorable Colm F. Connolly



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